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                                     for the                         District of                             New Jersey

                         United States of America
                                                                                               ORDER SETTING CONDITIONS
                                           v.                                                         OF RELEASE

                     JAY GOLDSTEIN                                                              Case Number: 13-2550-4 (DEA)

           IT IS ORDERED on this i8T1 day of OCTOBER 2013 that the release of the defendant is subject to the following
                                                                            ,


           conditions:
        (1) The defendant must not violate any federal, state or local law while on release.
        (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
            42 U.S.C. § 14135a.
        (3)  The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
            any change in address and/or telephone number.
        (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

                                                                 Release on Bond

Bail be fixed at $ 1 Million          and the defendant shall be released upon:

       ( )    Executing an unsecured appearance bond ( ) with cosignor(s)                                          0;

       ( x)   Executing a secured appearance bond (x) with co-signor(s)LL                      cfp                    and ( )
              depositing in cash in the registry of the Court      of the bail fixed; and/or (x) execute an agreement to
              forfeit designated property located at                                                     Local Criminal Rule
              46.1(d)(3) waived by the Court.
      ( )     Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu
              thereof;

                                                      Additional Conditions of Release

Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the defendant and the
safety of other persons and the community, it is further ordered that the release of the defendant is subject to the condition(s) listed
below:

IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
      ( x) Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law enforcement
           personnel, including but not limited to, any arrest, questioning or traffic stop.
      ( x) Residence to be approved in advance by PTS.
      ( ) The defendant shall be released into the third party custody of____________________________________
              who   agrees   (a)   to supervise the defendant   in   accordance with all the conditions of release,       (b,)   to use every effort
              to assure the appearance of the      defendant    at   all scheduled   court proceedings,   and (c,.   to notfv the court


              immediately    in the event the defendant violates any conditions of release or disappears.




              Custodian Signature:                                                     Date:


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(X) The defendant’s travel is restricted to (X) New Jersey (X) Other and NY for Attorney visits
                                                             (X) unless approved by Pretrial Services (PTS).
      Surrender all passports (including expired) and travel documents to PTS. Do not apply for new travel documents.
    ‘ Also, surrender all passports for defendant’s spouse and children.

( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with substance.
( ) Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any home in
      which the defendant resides shall be removed by                     and verification provided to PTS.
( )   Mental  health  testing/treatment as directed by  PTS.
( ) Abstain from the use of alcohol.
( ) Maintain current residence or a residence approved by PTS.
( ) Maintain or actively seek employment andlor commence an education program.
( ) No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
( ) Have no contact with the following individuals:
(x) Defendant is to participate in one of the following home confinement program components and abide by all the
      requirements of the program which (x) will or ( ) will not include electronic monitoring or other location
      verification system. You shall pay all or part of the cost of the program based upon your ability to pay as
      determined by the pretrial services office or supervising officer.
       ( ) (i) Curfew. You are restricted to your residence every day ( ) from                    to          or ( ) as
                   directed by the pretrial services office or supervising officer; or
       ( ) (ii) Home Detention. You are restricted to your residence at all times except for the following:
                   education; religious services; medical, substance abuse, or mental health treatment; attorney
                   visits; court appearances; court-ordered obligations; or other activities pre-approved by the
                   pretrial services office or supervising officer. Additionally, employment ( ) is permitted ( )
                   is not permitted.
       ( x) (iii) Home Incarceration. You are restricted to your residence under 24 hour lock-down except
                   for medical necessities and court appearances, or other activities specifically approved by the
                   court. Religious Service as approved by PTS.
 ( ) Defendant is subject to the following computer/internet restrictions which may include manual inspection
       and/or the installation of computer monitoring software, as deemed appropriate by Pretrial Services. The
       defendant shall pay all or part of the cost of the monitoring software based upon their ability to pay, as
       determined by the pretrial services office or supervising officer.
       ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                  -




             connected devices.
       ( ) (ii) Computer No Internet Access: defendant is permitted use of computers or connected
                             -




             devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC              Servers,
             Instant Messaging, etc);
       ( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected devices,
                   and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant
                   Messaging, etc.) for legitimate and necessary purposes pre-approved by Pretrial
                   Services at { ] home [ ] for employment purposes.
       ( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in the home
                   utilized by other residents shall be approved by Pretrial Services, password protected by a third
                   party custodian approved by Pretrial Services, and subject to inspection for compliance by Pretrial
                   Services.

 (X) Other: No contact, with victims! witnesses or co-defendant’s in this matter unless in the presence of counsel.

 (X) Other: Execute an irrevocable waiver or extradition.
  (X) Other: The defendant shall remain detained until all conditions have been met.
 (X’) Other: Not to negotiate any divorce or matter pertaining to gets.


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                                          ADVICE OF PENALTIES AND SANCTIONS

To THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result
in imprisonment, a fine, or both.
            While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten
years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will
be consecutive (i.e., in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation:
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant: or intimidate or
attempt to intimidate a witness, victim,juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation
are significantly more serious if they involve a killing or attempted killing.
            If’, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you
may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
                 (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more you will
                                                                                                                                 —




                       be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
                 (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you will be
                                                                                                                             —




                       fined not more than $250,000 or imprisoned for not more than five years, or both;
                 (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years, or both;
                                      —




                 (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                                     —




                 A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive.
In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

               I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey
all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.


                                                                                Defendant     Signature


                                                              /                      City and State

                                               Directions to the United States Marshal

   (V) The defendant is ORDERED released after processing.
   ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
          defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
          produced before the appropriate judge at the time and place specified.

  Date:       OCTOBER 18, 2013
                                                                                         Officer ‘s Signature

                                                                    DOUGLAS E. ARPERT, U.S,M.J,
                                                                           Printed name and title

 (REv. 1/09)
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